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LEONARD M. ROSS (SBN 43859)

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Counsel of record for Plaintiff and Cross-Defendant TBH19, LLC,
and Plaintiffs Leonard M. Ross, LMR-TBH, LLC, and
ROSSCO HOLDINGS, INCORPORATED

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — LOS ANGELES DIVISION

In re } Chapter No.: 11
)
) Case No: 2:19-bk-23823-VZ
)
TBH19, LLC ) Adversary No.:
)
) NOTICE OF REMOVAL OF ACTION
)
Debtor )
)
) [28 U.S.C. §1452(a) and 28 U.S.C, §157{a)]
TBH19 LLC, a Delaware limited liability )
company; LEONARD M. ROSS, individually — )
and as Trustee of the Leonard M. Ross }
Revocable Trust (u/d/t 12-20-85); LMR-TBH, _ )
LLC, a Delaware limited liability Company; )
ROSSCO HOLDINGS INCORPORATED, a)
California Corporation, )
)
Plaintiffs, )
vs. )
)
HARVEY BOOKSTEI, individually and as)
Trustee of the Harvey and Harriet Bookstein ——)
Living Trust u/d/t 8/11/99 for the benefit of )
Harvey A BOOKSTEIN; HAR-BD LLC, a )
Delaware limited liability company; HAR-LLC, )
a California limited liability company; HAR- _)

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RFF LLC, a Delaware limited liability company;)
HAR-MANAGING ENTITY, LLC, a California)
limited liability company; HAR-BD )
INVESTORS LLC, a Delaware limited liability )
company; HAR-1011 LLC, a Delaware limited )
liability company; ARMANINO LLP, a )
California limited liability partnership; )
MARTIN BURTON, an individual; GLORYA  )
KAUFMAN, individually and as Trustee of the )
GLORYA KAUFMAN TRUST, DATED 3-13- )
92: DBD CREDIT FUNDING LLC, a Delaware )

limited liability company; FORTRESS )
INVESTMENT GROUP; and DOES 1 through )
500 inclusive )
)

Defendants. )

)

DBD CREDIT FUNDING, LLC, a Delaware)
Limited Liability Company )
)

Cross-Complainant, )

)

¥S. )
TBH19 LLC, a Delaware limited lability )
company; HAR-BD, LLC a Delaware limited )

liability company; GLORYA KAUFMAN, )
individually and in her capacity as Trustee of the)
Glorya Kaufman Trust dated 3-1 3-92; )
GUSTAVO FRANCISCO REYNOSO, an )
individual and DOES 1-10, )
inclusive, )
)
)
)
)
)

Cross-Defendants

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TO THE HONORABLE VINCENT ZURZOLO, UNITED STATES BANKRUPTCY

JUDGE, ALL PARTIES IN THE ABOVE-CAPT IONED STATE COURT CIVIL ACTION

HEREBY REMOVED, THE CLERK OF THE COUNTY OF LOS ANGELES SUPERIOR

COURT, CENTRAL JUSTICE CENTER:

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PLEASE TAKE NOTICE that Leonard M. Ross, individually and as Trustee of the
Leonard M. Ross Revocable Trust (u/d/ 12-20-85) and Rossco Holdings Incorporated (together,
“Ross”) submits this Notice of Removal of Action in accordance with Rule 9027 of the Federal
Rules of Bankruptcy Procedure, 28 U.S.C. $1452(a) and §157(a), and respectfully represents as
follows:

i, On November 25, 2019, Debtor TBH19, LLC (“Debtor”) filed a voluntary Chapter
11 petition, (“Chapter 11 Case”), which 1s presently pending before the United States
Bankruptcy Court for the Central District of California, Los Angeles Division. The Chapter 11
Case is designated as Case No. 2:19-bk-23823-VZ. The Debtor is a debtor-in-possession
pursuant to 11 U.S.C. §§ 1101(1) and 1107 and, as well, a Plaintiff herein. Declaration of
Leonard Ross, Paragraph 3 (“ROSS DEC”),

2, On September 16, 2019, Plaintiff Ross, together with TBH19, LLC and LMR-TBH,
LLC, a Delaware limited liability Company, filed a Complaint and instituted an action entitled as
“TBHI9, LLC, et. al. vs. Harvey Bookstein, et. al” in the Superior Court of California, County of
Los Angeles (“State Court”) (the “Civil Action”). The Civil Action is designated as Case No.
19STCV32941 by the State Court. ROSS DEC, Paragraph 4.

3. The Civil Action has been related to another case in State Court which has been
designated as Case No. 19STCV31137 by the State Court (the “Second Civil Action”). The
Second Civil Action is the subject of a separate, but concurrently filed, Notice of Removal of
Action as well. ROSS DEC, Paragraph 5.

4, Ross is removing the Civil Action since under 28 U.S.C 1334(e)(1) as the United
States Bankruptcy Court has exclusive jurisdiction over the bankruptcy related issues and

creditor claims, TBH19, LLC is not a removing patty. This Notice of Removal will be

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accompanied by copies of all process and pleadings contained in the State Court’s file in the
Civil Action at the time of filing this Notice of Removal within 30 days, in accordance with Rule
9027(a)(1) of the Federal Rules of Bankruptcy Procedure, LBR 9027-1(d)(2)(A), and as set forth
in the Declaration of Leonard Ross “ROSS DEC”). However, for purposes of reference the
State Court docket as of today, and the recently entered order of February 14, 2020, is attached to
the ROSS DEC, ROSS DEC, Paragraph 6.

5. The parties are Leonard M. Ross individually and as Trustee, Glorya Kaufman
individually and as Trustee, the Debtor, Harvey Bookstein and certain of his entities, and Rossco
Holdings, IncorporatedP. ROSS DEC, Paragraph 7.

6. A referee has been appointed by the State Court (Judge Charles M. McCoy (Ret.)
The referee has not yet conducted any proceedings or hearings,and has not yet met with the
parties or issued any orders. ROSS DEC, Paragraph 8.

7. The Civil Action, including all claims and causes of action asserted therein, is a
civil case before the Superior Court of California in the County of Los Angeles. ROSS DEC,
Paragraph 9.

8. The Civil Action is a civil proceeding related to the Chapter 11 Case. The
Bankruptcy Court presiding over the Chapter 11 Case, pursuant to the general reference with
respect to Title 11 cases in effect in the Central District, Los Angeles Division, and 28 U.S.C.
§157(a), has jurisdiction of each and every cause of action asserted in the Civil Action under 28
U.S.C. §1334. ROSS DEC, Paragraph 10.

9. The Civil Action concerns and alleges causes of action relating to the Bankruptcy
Estate, including, but not limited to, issues relating to the Debtor’s relationship with Harvey

Bookstein and his entities, Glorya Kaufman and DBD Credit Funding, LLC each of whom have -

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recorded instruments (the priority, extent and validity of which is disputed by the Debtor) against
the Debtor’s real property. All of these claims and causes of action have a clear and direct
impact on the Bankruptcy Estate under 11 U.S.C. §541. ROSS DEC, Paragraph 11.

10. Resolution of the claims asserted in the Civil Action will significantly affect the
administration of the Estate and involves the property of the estate, the operation of the Debtor,
and the allowance or disallowance of claims against the Estate, as well as counterclaims and
cross-claims by and against the Estate, attempts to obtain property and assets of the Estate, and
proceedings potentially affecting the of assets of the Estate and the adjustment of the debtor-
creditor relationship. All such proceedings are core proceedings under 28 ULS.C.
§157(b)(2)(A),(B), (C); (E), and (0). ROSS DEC, Paragraph 12.

11. To the extent that any portion of the Civil Action is not a core proceeding, Ross
consents to the entry of final orders or judgment by the Bankruptcy Court. ROSS DEC,
Paragraph 13.

12. Removal of each claim and cause of action of the Civil Action to the Bankruptcy
Court is authorized by 28 U.S.C. §§ 1452, 1334, and 157, and the General Order of the District
Court for the Central District, Los Angeles Division referring bankruptcy matters to the United
States Bankruptcy Court. Removal is in accordance with Rule 9027(a)(2) of the Federal Rules
of Bankruptcy Procedure and Local Bankruptcy Rule 9027-1.

NOW THEREFORE, all parties to the Civil Action, pending in the State Court as Case No.
19STCV31942, are HEREBY NOTIFIED, pursuant to Rule 9027(b) of the Federal Rules of
Bankruptcy Procedure, as follows:

Removal of the Civil Action and all claims and causes of action therein was effected upon

the filing of a copy of the Notice of Removal with the Clerk of the State Court pursuant to Rule

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9027(c) of the Federal Rules of Bankruptcy Procedure. The Civil Action is removed from the
State Court to the Bankruptcy Court presiding over the Chapter 11 Case. The parties to the
Civil Action shall proceed no further in the State Court unless and until the action is remanded

by the Bankruptcy Court.

Dated: February 20, 2020 LM ROSS PROFESSIONAL CORP

» ne

Leonard M. Ross
Attorneys for “Ross”

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PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address
is: is 269 South Beverly Drive, Suite 1075, Beverly Hills, California 90212.

A true and correct copy of the foregoing document entitled (specify). NOTICE OF REMOVAL OF ACTION
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink
to the document. On February 20, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:

2, SERVED BY UNITED STATES MAIL:

On February 20, 2020, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Honorable Vincent P. Zurzolo

United States Bankruptcy Court

255 E. Temple Street, Suite 1360 / Courtroom 1368
Los Angeles, CA 90012

Kelly L Morrison

Office of the United States Trustee
915 Wilshire Blvd, Suite 1850

Los Angeles, CA 90017

Please see attached service list.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
, I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the
judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed
no later than 24 hours after the document is filed.

Please see attached service list.

{ declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

February 20, 2020 Javier Estrada /s/ Javier Estrada
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE

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SERVICE LIST

VIA EMAIL & FIRST CLASS MAIL

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This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2072

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